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11
     Attorneys for Plaintiff and
12   Counterclaim-Defendant
     JAVO BEVERAGE CO., INC.
13
14
                             UNITED STATES DISTRICT COURT
15
                       SOUTHERN DISTRICT OF CALIFORNIA
16
17   JAVO BEVERAGE CO., INC.,               Case No. 19-cv-01859 CAB WVG
18              Plaintiff,                  JOINT MOTION FOR OUTSIDE
19                                          LITIGATION COUNSEL’S
          v.                                ACCESS TO SEALED PORTION
20                                          OF TRANSCRIPT FROM
     CALIFORNIA EXTRACTION                  PRELIMINARY INJUNCTION
21   VENTURES, INC. AND STEPHEN             HEARING
     COREY,
22              Defendants.                 Ctrm.: 4C (4th Floor)
23                                          The Hon. Cathy Ann Bencivengo
     CALIFORNIA EXTRACTION
24   VENTURES, INC.,                        Complaint Filed: September 26, 2019
                                            Trial Date:      TBD
25              Counter-Claimant,
26        v.
27   JAVO BEVERAGE CO., INC.,
28              Counterclaim-Defendant.
                                                                        JOINT MOTION FOR
                                                             ACCESS TO SEALED TRANSCRIPT
                                                            CASE NO. 19-CV-1859 CAB WVG
Case 3:19-cv-01859-CAB-WVG Document 59 Filed 02/04/20 PageID.2009 Page 2 of 5



 1         Plaintiff and Counterclaim Defendant JAVO BEVERAGE CO., INC. (“Javo”),
 2   Defendant and Counterclaimant CALIFORNIA EXTRACTION VENTURES, INC.
 3   (“CEV”), and Defendant STEPHEN COREY (“Corey”) (collectively, the “Parties”), by
 4   and through their undersigned counsel, jointly move the Court to enter an order
 5   permitting Outside Litigation Counsel 1 for the Parties to access the portion of the
 6   transcript that the Court sealed during the January 23, 2020 hearing on Javo’s Motion
 7   for Preliminary Injunction (the “PI Hearing”).
 8         During the PI Hearing, at the request of CEV and Corey’s counsel, the Court
 9   ordered a portion of the proceedings sealed as outside attorneys’ eyes only. Pursuant to
10   the Court’s instructions, Javo’s representatives exited the courtroom for the portion of
11   the PI Hearing that took place from 11:25 a.m. to 12:13 p.m. During this portion of the
12   proceedings, CEV and Corey’s counsel presented a slide deck containing material that
13   either Javo or CEV/Corey has previously designated as “Confidential” or “Highly
14   Confidential – Outside Attorneys’ Eyes Only” and that the Court has previously sealed
15   in this action. (See Doc. Nos. 16, 36, 42, 43, 50.)
16         The Parties agree that the sealed portions of the PI Hearing transcript for the
17   portion of the proceedings that took place from 11:25 a.m. to 12:13 p.m., as well as the
18   slide deck that CEV and Corey’s counsel presented during that time, may be viewed by
19   Outside Litigation Counsel for the Parties.
20         The Parties also anticipate that Outside Litigation Counsel may wish to
21   coordinate to prepare a redacted version of the full PI Hearing transcript that is not
22   restricted as to Javo and/or a redacted version of the full PI Hearing transcript that is
23
24   1
       Outside Litigation Counsel includes Javo’s litigation counsel and support staff at
     Cooley LLP and Corey/CEV’s litigation counsel and support staff at Sheppard Mullin
25   Richter & Hampton LLP, who have not acted and will not act as patent prosecution
     counsel for Corey/CEV (“Outside Litigation Counsel”). Outside Litigation Counsel
26   does not include any counsel at Sheppard Mullin Richter & Hampton LLP that is
     advising or will advise (directly or indirectly) Corey/CEV on any preparation or
27   prosecution of Corey/CEV’s current or future patents or patent applications, including
     but not limited to David Heisey, Esq., Hector Agdeppa, Esq., Daniel Yannuzzi, Esq.,
28   Eric Gill, Esq., and Jonathan Marina, Esq.
                                                                             JOINT MOTION FOR
                                               1.                 ACCESS TO SEALED TRANSCRIPT
                                                                 CASE NO. 19-CV-1859 CAB WVG
Case 3:19-cv-01859-CAB-WVG Document 59 Filed 02/04/20 PageID.2010 Page 3 of 5



 1   not restricted as to Corey/CEV (i.e., by redacting the sealed information of the other
 2   side). The Parties respectfully request that the Parties be permitted to do so without
 3   further leave of Court.
 4                                              ***
 5         For the aforementioned reasons, the Parties jointly move this Court to permit
 6   Outside Litigation Counsel’s access to the sealed portions of the PI Hearing transcript
 7   for the portion of the proceedings from 11:25 a.m. to 12:13 p.m., and to grant Outside
 8   Litigation Counsel leave to coordinate on the preparation of a redacted version of the
 9   full PI Hearing transcript that is not restricted as to Javo and/or is not restricted as to
10   Corey/CEV.
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                                                                              JOINT MOTION FOR
                                                2.                 ACCESS TO SEALED TRANSCRIPT
                                                                  CASE NO. 19-CV-1859 CAB WVG
Case 3:19-cv-01859-CAB-WVG Document 59 Filed 02/04/20 PageID.2011 Page 4 of 5



 1   Dated: February 4, 2020   COOLEY LLP
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 3
                               By                /s/ Steven M. Strauss
 4                                              STEVEN M. STRAUSS
 5                                                ERIN C. TRENDA
                                               ALEXANDER R. MILLER
 6                                             JOANNA L. HUBBERTS
 7                                                 JEFFREY KARR
 8                                       Attorneys for Plaintiff and Counterclaim
 9                                       Defendant JAVO BEVERAGE CO., INC.
10   Dated: February 4, 2020   SHEPPARD, MULLIN, RICHTER & HAMPTON LLP
11
12
                               By                 /s/ John A. Yacovelle
13
                                                JOHN A. YACOVELLE
14                                               MARISA B. MILLER
                                                 KRISTIN P. HOUSH
15
                                                      JESSE SALEN
16
                                      Attorneys for Defendants and Counterclaimant
17
                                              CALIFORNIA EXTRACTION
18                                     VENTURES, INC. AND STEPHEN COREY
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                                                                     JOINT MOTION FOR
                                        3.                ACCESS TO SEALED TRANSCRIPT
                                                         CASE NO. 19-CV-1859 CAB WVG
Case 3:19-cv-01859-CAB-WVG Document 59 Filed 02/04/20 PageID.2012 Page 5 of 5



 1                            SIGNATURE CERTIFICATION
 2
           Pursuant to Section 2(f)(4) of Electronic Case Filing Administrative Policies and
 3
     Procedure Manual, I hereby certify that the content of this Joint Motion for Outside
 4
     Litigation Counsel’s Access to Sealed Portion of Transcript from Preliminary
 5
     Injunction Hearing, is acceptable to counsel for Defendants and Counterclaimant
 6
     CALIFORNIA EXTRACTION VENTURES, INC. and STEPHEN COREY, and I have
 7
     obtained John Yacovelle’s authorization to affix his electronic signature to this
 8
     document.
 9
           Executed this fourth day of February 2020, in San Diego, California.
10
11
12                                   By /s/ Steven M. Strauss
                                        STEVEN M. STRAUSS
13
                                        Email: sms@cooley.com
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                                                                           JOINT MOTION FOR
                                              4.                ACCESS TO SEALED TRANSCRIPT
                                                               CASE NO. 19-CV-1859 CAB WVG
